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Operational Clean Sweep Search Checklist- Political and Election Mail 4

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
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Political and Election Mail Operations Conrngior information for investigating possible missing or delayed

 

 

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